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ARTHUR VlTO CASE NO. a.;:.l.i..r.;,saj.? L‘c:.~.l'..’.'\
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V.

SHERD|C KENDALL CA|N, individually,
and MELV|N WlLL|AMSON TRUCK|NG, |NC.

Defendants

 

NOT|CE OF REMOVAL UNDER 42 U.S.C. 1332 and 1446

COlVlE NOW the Defendants, SHEDR|C KENDALL CA|N (hereinafter “CA|N") and
NlELVlN WlLL|AMSON TRUCK|NG (hereinafter “WlLLIAMSON") by and through their
undersigned counsel and pursuant to 28 U.S.C. §§ 1332 and 1446, and hereby submit for
consideration this Notice of Remova| of this action to the United States District Court for
the l\/liddle District of F|oridal Orlando Division. ln support of its Notice, Defendants state
the following:

1. Plaintiff, ARTHUR VlTO, filed his lawsuit in this matter on or about
December 19, 2011 alleging claims against CA|N and WlLLlAlVlSON, arising from a
motor vehicle accident that occurred in Orange County, F|orida on December 7, 2009.
The lawsuit Was filed in Circuit Court of the Ninth Judicial Circuit, in and for Orange
County, F|orida, captioned Althur Vito vs. Shedric Kendall Cain, individual/v and Melvin
Williamson Truckinq, Inc.l Civil Case No. 11-CA-16812-O. A true and correct copy of

the Summons, Comp|aint, and all other process, pleadings, and orders served upon

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CAlN and WlLlAMSON are attached hereto as Composite Exhibit “,”A as provided in 28
U.S.C. § 1446(a).

3. True and correct copies of the Affidavits of Service on CAlN and
WlLL|AMSON are attached hereto as Composite Exhibit
“."B Aside from the materials in Composite Exhibits “A" and “B" neither CAlN nor
WlLlAMSON are aware of any other processl pleadings, papers or orders served upon
them with process in this action or filed in this action.

4. This Notice is being filed within one (1) year from the date the Complaint
was originally filed in Orange County, F|orida and within thirty (30) days from the date of
service on both CAlN and WlLL|AMSON. As such, Defendants’ removal is timely
pursuant to 42 U.S.C. § 1446(b).

5. Venue is proper in the l\/liddle District of F|orida, Orlando Division,
because the Circuit Court action is pending within the jurisdictional confines of this
District and Division, See 28 U.S.C. §1446(a); Local Rules 1.02(b)(1) and 4.02(a)l
Middle District of F|orida. Contemporaneous with this filing, CAlN and WlLL|AMSON
give written notice of the removal to Plaintiff by and through his designated counsel, and
to the Clerk of the Ninth Judicial District Court in and for Orange County, F|orida, as
provided for and required by 28 U.S.C. § 1446(d). A true and correct copy of the Notice
to Plaintiff and to Clerk of Court of Removal of Civil Action to Federal Court (without
exhibits) is attached hereto as Exhibit ".C"

6. This Court has original jurisdiction over this civil action on the basis of

diversity jurisdiction Diversity jurisdiction exists where the suit is between citizens of

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different states, and the amount in controversy exceeds $75,000.00. See 28 U.S.C. §
1332.

7. The amount in controversy in this case exceeds $75,000.00. Although
Plaintiff only pleaded that the amount in controversy "exceed the jurisdictional
requirements of this Court” in the body of the Complaint, this allegation was phrased
only to satisfy the jurisdictional requirement of the Ninth Judicial Circuit Court in and for
Orange County, F|orida, As set forth below, CAlN and WlLL|AMSON have a good faith
basis for their belief that the actual amount in controversy exceeds not only the
jurisdictional requirement of the underlying Circuit Court, but also the $75,000.00
threshhold requirement in actions removed to this Court on the basis of diversity of
citizenship.

8. When a plaintiff files the case in state court, and fails to plead a specific
amount of damages (as here), the removing defendant must only prove by a
preponderance of the evidence that the amount in controversy more likely than not
exceeds the jurisdictional requirement Williams v. Best Buv, Co.1 lnc., 269 F.3d 1316,
1319 (11th Cir. 2001); Tapscott v. MS Dealer Service Corp.. F.3d 1353, 1357 (11'h Cir.
1996). (emphasis added). The Complaint in this case simply seeks damages “which
exceed the jurisdictional requirements of this Court” (See. Co_mg. 11 1). This does not
qualify as a demand for a specific amount of damages. Leonard v. Enterprise Rent A
E, 279 F.3d 967, 972 n. 9 (11th Cir. 2002). Thus, the issue is whether defendants
have shown that it is more likely than not that the amount in controversy exceeded

$75,000, exclusive of interest and costs.

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9. To establish jurisdiction, a removing defendant may rely upon the factual
representations of plaintiff. l\/litchell v. Brown & Williamson Tobacco CorD., 294 F.3d
1309, 1314-15 (11th Cir. 2002). When the jurisdictional amount is not facially apparent
from the complaint, “the court should look to the notice of removal and may require
evidence relevant to the amount in controversy at the time the case was removed."
_Vy_illiaB, 269 F.3d at 1319 (citing McNut v. General Motors Acceptance Corp.. 298 U.S.
178, 189, 56 S.Ct. 780, 80 (1936). "A conclusory allegation in the notice of removal that
the jurisdictional amount is satisfied, without setting forth the underlying facts supporting
such an assertion, is insufficient to meet defendant's burden.” g At 1319-20, see also
Burns v. Windsor lns. Co, 31 F.3d 1092, 1097 (11th Cir. 1994)(concluding that removing
defendant did not meet burden of proving amount in controversy where it offered
“nothing more than conclusory allegations”). The Court can, however, look to facts
submitted by defendant post-removal to see if the jurisdictional amount is satisfied as of
the date of removal. Sierminski v. Transouth Fin. Corp.., 216 F.3d 945, 949 (11‘h Cir.
2000);Williams, 269 F.3d at 1319-20.

10. ln this casel the only specifics in the Complaint are that the Plaintiff,
ARTHUR VlTO, allegedly suffered "bodily injury and resulting pain and suffering,
disability, impairment disfigurement, mental anguish, loss of capacity for the enjoyment
of life, expenses of hospitalization, medical and nursing care and treatmentl loss of
earnings, and loss of ability to earn money.” See Co_mp_l. 1| 8. Plaintiff also alleges that
the injury to the Plaintiff “is permanent” and that the Plaintiff “will continue to suffer the

losses in the future.” See Compl. 11 8. |n addition, the Plaintiff made a pre-suit demand

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in this matter of $325,000 in October 2011, which estimated that his claim would be
approximately $100,000.00 for medical expenses and medical specia|s.

11. The United States District Court for the Southern District of F|orida
recently held that similar allegations were sufficient to satisfy the defendant's burden to
show the amount in controversy was over $75,000. See Eichhorn v. Home Depot, lnc.,
2007 WL 2774247 (S.D. Fla. September 24, 2007).

12. Taking into account all elements of damage, there is a good faith basis for
CAlN and WlLL|AMSON to assert that the amount in controversy exceeds $75,000.
Thus, by a preponderance of the evidence, Defendants have established that as of the
date of removal, the amount in controversy exceeds the jurisdictional requirements See
Wilson v. Time |ns. Co., 2006 WL 2092259 (M.D. Fla. 2006).

13. ln his Complaint, Plaintiff alleges that Defendant, CA|N, is a "resident of
Maryland." See Q_omgl., 11 2. Plaintiff identifies Defendant WlLL|AMSON as a
“l\llary|and corporation.” See Co_mp_|., 11 2. Therefore, complete diversity exists amongst
the Defendants. See 28 U.S.C.A. § 1332(a).

14. As Defendants CAlN and WlLL|AMSON are the only party Defendants to
this suitl and have jointly filed this Notice of Removal, the "unanimity requirement"
mandating that in cases involving multiple defendants, all defendants must join the
removal petition or otherwise manifest consent for removal to be proper within the
meaning of § 1447 (c), has been satisfied. See Mitsuie Lines. Ltd. v. CSX lntermodal.

|nc., 564 F.Supp.2d 1367, 1360 (S.D. Fla. 2008).

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16. Pursuant to 28. U.S.C. 1446(a), true and correct copies of all additional
pleadings filed in this action, including the responsive pleadings and/or motions of the
served defendants, are attached hereto as Exhibit ‘D.”

WHEREFORE, Defendants, CAlN and WlLL|AMSON, respectfully request that
the above-described action pending against them in the Ninth Judicial Circuit Court, in
and for Orange County, F|orida, be removed to this Court.

CERT|F|CAT|§ OF SERV|CE

l HEREBY CERT|FY that a true and correct copy of the foregoing has been

furnished via U.S. Mail on this 24th day of January, 2012 to Tiffany M. Faddis, Esquire,

Faddis & Faddis, P.A., 5250 South U.S. Highway 17-92, Casselberry, F|orida 32707

    

J/ /‘i/'

DAle R.'EvELEv, ESQulRE

F|orida Bar No.: 869170

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